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Debtor 2                 _______BB____________BBBBB_______________BBBBBBBBBBBBBBBBBB_BBBBBBBB_
(Spouse, if filing)

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                                                                                                 Must be at least 21 days after date
                                                                                                 of this notice                            
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                                                                                                 Principal, interest, and escrow, if any
 /DVWGLJLWVof any number you use to
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        YDULDEOHUDWHDFFRXQW"
        
        ✔    No
            Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
             DWWDFKHGH[SODLQZK\



             &XUUHQWLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB                                      1HZLQWHUHVWUDWHBBBBBBBBBBBBBBBBBB

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           ✔
               No
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)
            5HDVRQIRUFKDQJH



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                     +DWWLH0DH'DQLHO                                                                                    
      Debtor 1       _____BB_________________________________________________                        Case number (LINQRZQ) ______________________
                     First Name          Middle Name      Last Name




 3DUW 6LJQ+HUH


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


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    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



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 8    /s/Kim Daye
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      Signature
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        Daye, Kim                                                                             VP Loan Documentation
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        First Name                Middle Name            Last Name              7LWOH


 Company Wells Fargo Bank, N.A.
         _B____________________BB____________________________________

 Address    MAC N9286-01Y
            ___________________________B_________BB______BB______________
            Number                       Street

            1000 Blue Gentian Road
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            $GGUHVV

             Eagan                                   MN      55121-7700
            BBBB_______________________________________________BBBBBBBB__
              City                                                  State      ZIPCode



                     800-274-7025                                                             NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone BBBBBBBBBBBBBBBBBBBBBBBBB                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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Official Form 410S1                                                  1RWLFHRI0RUWJDJH3D\PHQW&KDQJH                                                page 
         18-21349-dob                       Doc 36          Filed 04/20/20            Entered 04/20/20 19:56:50                  Page 2 of 7
                      UNITED STATES BANKRUPTCY COURT
                                                        Eastern District of Michigan


                                                    Chapter 13 No. 1821349
                                                    Judge: Daniel S. Opperman

In re:
Hattie Mae Daniel
                                           Debtor s 

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before April 21, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                            %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     Hattie Mae Daniel
                                     2964 Welland Drive

                                     Saginaw MI 48601



                                   %\863RVWDO6HUYLFH)LUVW&ODVV0DLO3RVWDJH3UHSDLGRU)HG([
                                     N/A




Debtor’s Attorney:                 %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    Joshua M. Reinert
                                    Reinert & Reinert
                                    3434 Davenport Avenue

                                    Saginaw MI 48602


                                   %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                    N/A




Trustee:                           %\&RXUW V&0(&)V\VWHPUHJLVWHUHGHPDLODGGUHVV
                                     Thomas McDonald

                                     3144 Davenport

                                     Saginaw MI 48602

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                                                            /s/Kim Daye
                                                       VP Loan Documentation
            18-21349-dob         Doc 36       Filed 04/20/20     Entered 04/20/20 19:56:50                 Page 3 of 7
                                                            Wells Fargo Bank, N.A.
                                   Return Mail Operations                                    Escrow Review Statement
                                   PO Box 14547
                                                                                             For informational purposes only
                                   Des Moines, IA 50306-4547
                                                                                             Statement Date:                                     April 9, 2020
                                                                                             Loan number:
                                                                                             Property address:
                                                                                                  2964 WELLAND DR
                                                                                                  SAGINAW MI 48601-6941


                                                                                             Customer Service
                                                                                                   Online                           Telephone
                                                                                                   wellsfargo.com                   1-800-340-0473
            HATTIE M DANIEL
                                                                                                   Correspondence                   Hours of operation
            2964 WELLAND DR                                                                        PO Box 10335                     Mon - Fri 7 a.m. - 7 p.m. CT
            SAGINAW MI 48601                                                                       Des Moines, IA 50306
                                                                                                   To learn more, go to:
                                                                                                   wellsfargo.com/escrow


                                                                                                      We accept telecommunications relay service calls



  PLEASE NOTE: If you are presently seeking relief (or have previously been granted
  relief) under the United States Bankruptcy Code, this statement is being sent to you
  for informational purposes only. The summaries below are based on the terms of the
  loan and are provided for informational purposes only.
  These amounts are governed by the terms of the loan unless otherwise reduced by an
  order of the bankruptcy court. Because the amounts billed for the escrow items can
  change over time, we review the escrow account at least once per year to ensure there
  will be enough money to make these payments. Once the review is complete, we send
  the escrow review statement, also known as the escrow account disclosure statement.
                                                                                               The escrow account has a shortage of
  Here's what we found:
       • Required Minimum Balance: The escrow account balance is projected to                                $47.93
          fall below the required minimum balance. This means there is a shortage.

       •   Payments: As of the June 1, 2020 payment, the contractual portion of the
           escrow payment increases.



    Part 1 - Mortgage payment

           Option 1                Pay the shortage amount over 12 months
                                    Previous payment through New payment beginning with
                                    05/01/2020 payment date   the 06/01/2020 payment
                                                                                                  Option 1: No action required
   Principal and/or interest                  $343.23                   $343.23

   Escrow payment                              $257.31                  $268.16               Starting June 1, 2020 the new contractual
   Total payment amount
                                                                                              payment amount will be $611.39
                                             $600.54                   $611.39

           Option 2                Pay the shortage amount of $47.93
                                    Previous payment through New payment beginning with
                                    05/01/2020 payment date   the 06/01/2020 payment
                                                                                                  Option 2: Pay shortage in full
   Principal and/or interest                  $343.23                   $343.23

   Escrow payment                              $257.31                  $264.17               Starting June 1, 2020 the new contractual
   Total payment amount                                                                       payment amount will be $607.40
                                             $600.54                  $607.40




                                                         See Page 2 for additional details.


                                          Note: If you are presently seeking relief (or have previously been granted relief) under the United
                                          States Bankruptcy Code, this coupon is being provided for informational purposes only. If your
                                          Chapter 13 plan calls for your Chapter 13 Trustee to make the on-going post-petition mortgage
                                          payments, please contact your attorney or the Trustee’s office before directly sending any
                                          amounts relating to this escrow shortage

                                                                    If you choose to pay the shortage in full as referenced in Option 2, detach this coupon
                                                                    and mail it along with a check for $47.93 to the address that appears on this coupon.
    HATTIE M DANIEL
                                                                    This payment must be received no later than June 1, 2020.


                Wells Fargo Home Mortgage
                PO Box 10394
                Des Moines, IA 50306-0394




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                                                                                                                         Loan Number:


       Part 2 - Payment calculations
  For the past review period, the amount of the escrow items was $3,169.98. For the coming year, we expect the amount paid from escrow to be
  $3,169.98.

  How was the escrow payment calculated?
  To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
  escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
  determine the escrow amount.

  The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
  through the date of the analysis.



  Escrow comparison

                                                                                                                                         New monthly
                                       06/18 - 05/19      08/18 - 07/19       06/19 - 04/20   06/20 - 05/21
                                                                                                                        # of               escrow
                                         (Actual)           (Actual)            (Actual)       (Projected)
                                                                                                                       months              amount

  Property taxes                             $1,668.71          $1,668.71         $1,691.98      $1,691.98      ÷         12        =          $141.00
  Property insurance                         $1,419.00         $1,419.00          $1,478.00      $1,478.00      ÷         12        =          $123.17
  Total taxes and insurance                  $3,087.71         $3,087.71          $3,169.98      $3,169.98      ÷         12        =         $264.17
  Escrow shortage                                $0.00             $0.00             $0.00         $47.93       ÷         12        =            $3.99**

  Total escrow                               $3,087.71         $3,087.71          $3,169.98      $3,217.91      ÷         12        =         $268.16


  **
      This amount is added to the payment if Option 1 on page 1 is selected.


  Projected escrow account activity over the next 12 months
  To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
  greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
  balance. If the outcome is positive, there is an overage. If it is negative, there is a shortage. The calculation is below:


                                                                                                     (Calculated in Part 3 - Escrow account projections
  Lowest projected escrow balance April, 2021                                       $480.41          table)

  Minimum balance for the escrow account†                                 -         $528.34          (Calculated as: $264.17 X 2 months)


  Escrow shortage                                                        =           -$47.93


  †
   The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance. To calculate the cash reserve for the escrow
  account, we add the yearly escrow payments, and divide by 12. We take this amount and multiply it by 2 as allowed by state laws and/or the mortgage
  contract to determine the cash reserve.




18-21349-dob                  Doc 36             Filed 04/20/20                   Entered 04/20/20 19:56:50                             Page 5 of 7
                                                                                                                                                             Page 3 of 3
                                                                                                                                 Loan Number:



    Part 3 - Escrow account projections
  Escrow account projections from June, 2020 to May, 2021
                                            What we
                Payments to                 expect to                                                                   Projected escrow        Balance required
  Date            escrow                     pay out         Description                                                    balance              in the account
  May 2020                                                   Starting balance                                                  $744.52                     $792.45
  Jun 2020              $264.17                   $0.00                                                                      $1,008.69                    $1,056.62
  Jul 2020              $264.17                   $0.00                                                                       $1,272.86                   $1,320.79
  Aug 2020              $264.17                 $343.86      BUENA VISTA TOWNSHIP                                             $1,193.17                   $1,241.10
  Sep 2020              $264.17                   $0.00                                                                       $1,457.34                   $1,505.27
  Oct 2020              $264.17                   $0.00                                                                       $1,721.51                   $1,769.44
  Nov 2020              $264.17                   $0.00                                                                       $1,985.68                   $2,033.61
  Dec 2020              $264.17                $1,348.12     BUENA VISTA TOWNSHIP                                              $901.73                     $949.66
  Jan 2021              $264.17                   $0.00                                                                       $1,165.90                   $1,213.83
  Feb 2021              $264.17                   $0.00                                                                      $1,430.07                    $1,478.00
  Mar 2021              $264.17                   $0.00                                                                       $1,694.24                   $1,742.17
  Apr 2021              $264.17                $1,478.00     AUTO CLUB GROUP                                                  $480.41                     $528.34
  May 2021              $264.17                   $0.00                                                                        $744.58                     $792.51

  Totals            $3,170.04                  $3,169.98



    Part 4 - Escrow account history
  Escrow account activity from June, 2019 to May, 2020
                        Deposits to escrow                     Payments from escrow                                                       Escrow balance
     Date      Actual      Projected Difference            Actual   Projected Difference                Description           Actual         Projected Difference
  Jun 2019                                                                                           Starting Balance        -$1,428.89         $771.92      -$2,200.81
  Jun 2019       $501.26          $257.31      $243.95        $0.00             $0.00       $0.00                              -$927.63       $1,029.23      -$1,956.86

  Jul 2019       $250.63          $257.31       -$6.68        $0.00             $0.00       $0.00                              -$677.00       $1,286.54      -$1,963.54

  Aug 2019       $250.63          $257.31       -$6.68      $343.86        $322.35          $21.51   BUENA VISTA TOWNSHIP      -$770.23       $1,221.50      -$1,991.73

  Sep 2019       $501.26          $257.31      $243.95        $0.00             $0.00       $0.00                              -$268.97       $1,478.81      -$1,747.78

  Oct 2019         $0.00          $257.31      -$257.31       $0.00             $0.00       $0.00                              -$268.97       $1,736.12      -$2,005.09

  Nov 2019       $501.26          $257.31      $243.95        $0.00             $0.00       $0.00                               $232.29       $1,993.43       -$1,761.14

  Dec 2019       $250.63          $257.31       -$6.68     $1,348.12     $1,346.36           $1.76   BUENA VISTA TOWNSHIP      -$865.20        $904.38       -$1,769.58

  Jan 2020       $514.62          $257.31      $257.31        $0.00             $0.00       $0.00                              -$350.58       $1,161.69       -$1,512.27

  Feb 2020       $257.31          $257.31        $0.00        $0.00             $0.00       $0.00                               -$93.27       $1,419.00       -$1,512.27

  Mar 2020       $257.31          $257.31        $0.00     $1,478.00            $0.00   $1,478.00    AUTO CLUB GROUP          -$1,313.96      $1,676.31      -$2,990.27

  Apr 2020      $1,801.17         $257.31     $1,543.86       $0.00      $1,419.00      -$1,419.00   AUTO CLUB                  $487.21        $514.62          -$27.41
  (estimate)                                                                                         GROUP

  May 2020       $257.31          $257.31        $0.00        $0.00             $0.00       $0.00                               $744.52         $771.93         -$27.41
  (estimate)

  Totals       $5,343.39      $3,087.72       $2,255.67    $3,169.98     $3,087.71         $82.27




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  reserved. NMLSR ID 399801 9/19
18-21349-dob                Doc 36              Filed 04/20/20                      Entered 04/20/20 19:56:50                                     Page 6 of 7
18-21349-dob   Doc 36   Filed 04/20/20   Entered 04/20/20 19:56:50   Page 7 of 7
